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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES CONFERENCE OF
CATHOLIC BISHOPS,

                              Plaintiff,

v.

UNITED STATES DEPARTMENT OF
STATE;
                                                          Case No. 1:25-cv-465
MARCO RUBIO, in his official capacity as Sec-
                                                          [PROPOSED] TEMPORARY
retary of State, Department of State;
                                                          RESTRAINING ORDER
BUREAU OF POPULATION, REFUGEES,
AND MIGRATION, Department of State;

JENNIFER DAVIS, in her official capacity as
Principal Deputy Assistant Secretary, Bureau
of Population, Refugees, and Migration,
Department of State;

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES;

ROBERT F. KENNEDY, JR., in his official
capacity as Secretary of Health and Human
Services, Department of Health and Human
Services;

                              Defendants.
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                                       [Proposed] ORDER

       Upon consideration of Plaintiff’s motion for a temporary restraining order and preliminary

injunction and accompanying memorandum of law, it is hereby ORDERED that the motion for a

temporary restraining order is GRANTED.

       It is further ORDERED that Defendants U.S. Department of State, Marco A. Rubio, Bu-

reau of Population, Refugees, and Migration, Jennifer Davis, U.S. Department of Health and Hu-

man Services, and Robert F. Kennedy, Jr. (the “Enjoined Defendants”) and their agents are en-

joined from implementing, enforcing, or otherwise giving effect to any rule, order, policy, or other

agency action suspending, freezing, pausing, or otherwise preventing the obligation or disburse-

ment of appropriated funds to reimburse past and ongoing expenses incurred by USCCB in con-

nection with SPRMCO24CA0342 and SPRMCO24CA0336 (the “Cooperative Agreements”), in-

cluding by:

   x   implementing, enforcing, or otherwise giving effect to the January 24, 2025 suspension

       letter issued by the State Department to USCCB; or

   x   issuing or reissuing any other letters or taking any other actions that have a materially sim-

       ilar effect.

       It is further ORDERED that the Enjoined Defendants shall take all steps necessary to ef-

fectuate this Order, including by promptly reimbursing all allowable expenses in connection with

the Cooperative Agreements that USCCB has submitted and may in the future submit for reim-

bursement.




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       It is further ORDERED that the parties shall meet and confer and file a joint status report

proposing a preliminary injunction briefing schedule within three days of the entry of this Order.


IT IS SO ORDERED.

                                                     __________________________________

                                                     U.S. District Judge, District of Columbia




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